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                                                 Monday, November 25, 2019

          Via ECF
          Hon. John E. Jones, III

                     RE:    Dobson v. The Milton Hershey School
                            U.S. District Court – Middle District of Pennsylvania
                            No. 1:16-cv-1958

          Your Honor:

                  Pending before this Honorable Court in the above-captioned matter is plaintiff’s Motion
          for Reconsideration sur Order denying plaintiff’s Motion to Amend. The undersigned represents
          plaintiff.

                 Inadvertently, in the above-referenced motion, plaintiff referenced the Americans with
          Disabilities Act (“ADA”). Instead, plaintiff meant to reference the Fair Housing Act (“FHA”).

                     Plaintiff and his undersigned counsel apologize for this inadvertence.

                     Thank you for Your Honor’s consideration of the status update.



                                                          Sincerely,

                                                          /s/ Matthew B. Weisberg
                                                          MATTHEW B. WEISBERG

          MBW/hcm
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